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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAII

                                                )
KELLEY O’NEIL’S INC., IRISH ROSE                ) Civil No.: 1:20-cv-449
SALOON INC., ANNA O’BRIEN’S INC.,               )
O’TOOLE’S IRISH PUB INC., and DOS               )
KALBOS ENTERPRISES, LLC, in their               ) COMPLAINT
individual capacities and on behalf of those    ) WITH JURY DEMAND
similarly situated,                             )
                                                )
                                  Plaintiffs,   )
                -against-                       )
                                                )
DAVID IGE, in his official capacity as          )
Governor of the State of Hawaiʻi, CLARE E.      )
CONNORS, in her official capacity as            )
Attorney General for the State of Hawaiʻi,      )
THE STATE OF HAWAIʻI,                KIRK       )
CALDWELL, in his official capacity as           )
Mayor of the City and County of Honolulu,       )
and THE CITY AND COUNTY OF                      )
HONOLULU.                                       )
                                                )
                                 Defendants.    )
                                                )

       Plaintiffs, by their attorneys, DIPASQUALE & SUMMERS, LLP, in support of

this class action alleges as follows:
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                                   INTRODUCTION

       1.     This case is a federal civil rights action, brought pursuant to 42 U.S.C. §

1983, challenging the executive "shutdown" orders as they relate to the bar and nightlife

industry, issued by Defendants Governor DAVID IGE and Mayor KIRK CALDWELL

and enforced by them, and by Defendant Attorney General of the State of Hawai’i and

the numerous extensions and continued enforcement of the executive orders issued by

Defendant Governor DAVID IGE and Mayor KIRK CALDWELL, which continue to

be enforced by them, and by Defendant Attorney General of the State of Hawai’i, now

225+ days after Governor first declared a state of emergency on March 5, 2020.

       2.     This action seeks declaratory and injunctive relief for deprivations

sustained and continued to be sustained by Plaintiffs, on behalf of themselves and all

others similarly situated, and for violations committed by Defendants, acting under the

color of law, against Plaintiffs’ rights, and the rights of all others similarly situated, as

guaranteed by the Fifth and Fourteenth Amendments of the United States Constitution,

and for violations of the Hawaii Small Business Bill of Rights, and Hawai’i Constitution

Article 1, § 5.

       3.     This is also an action for just compensation required by the Fifth

Amendment to the Constitution. The Fifth Amendment to the Constitution requires that

the government pay for property it takes: [Rights of Persons] “nor shall private property

be taken for public use, without just compensation." U.S. Constitution, 5th Amendment.
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                            JURISDICTION AND VENUE

       4.    This Court has jurisdiction over the federal claims by operation of 28

U.S.C. §§ 1331 and 1343. This Court has authority to grant the requested injunctive

relief under 28 U.S.C. §1343; the requested declaratory relief under 28 U.S.C. §§ 2201

and 2202; and costs and attorney’s fees under 42 U.S.C. § 1988. This Court has

supplemental jurisdiction over Plaintiffs’ state claims under 28 U.S.C. § 1367. The state

law claims in this Amended Complaint are founded upon and arise under, inter alia,

Article I, Sections 2, 5 and 8, and Article V, Section 5 of the Constitution of the State of

Hawaiʻi.

       5.    Venue lies in the United States District Court for the District of Hawaiʻi

pursuant to 28 U.S.C. § 1391(b). A substantial part of the actions or omissions giving

rise to this case occurred within the District, and at least one Defendant resides in this

District.

                                     THE PARTIES

       6.    Plaintiff, Kelley O’Neil’s Inc. is a is a Hawai’i corporation with its

principal place of business in Honolulu County.

       7.    Plaintiff, Irish Rose Saloon Inc. is a is a Hawai’i corporation with its

principal place of business in Honolulu County.

       8.    Plaintiff, Anna O’Brien’s Inc. is a is a Hawai’i corporation with its

principal place of business in Honolulu County.
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       9.     Plaintiff, O’Toole’s Irish Pub Inc. is a is a Hawai’i corporation with its

principal place of business in Honolulu County.

       10.    Plaintiff, Dos Kalbos Enterprises, LLC d/b/a Suzie Wong’s Hideaway, is a

is a Hawai’i limited liability company with its principal place of business in Honolulu

County.

       11.    Because of Governor Ige's and Mayor Caldwell’s Executive Orders and

Proclamations, Plaintiffs, and all others similarly situated, and with the limited exception

of June 19, 2020 through July 29, 2020, have been forced to shut down their business

since March 20, 2020 through the date of the filing of this Complaint.

       12.    Defendant David Ige is the Governor of the State of Hawai’i and he signed

the Third Supplementary Proclamation on March 23, 2020, which ordered the closure of

all bars throughout the State of Hawaii, regardless of whether they served or sold food to

their customers, while conversely closing indoor dining for all restaurants, yet permitting

their continued operation for purposes of drive-thru, pick-up and delivery service. The

State Constitution requires that the Governor ensure that the laws of the state are

"faithfully executed." Governor Ige's office for the transaction of business is located at

the Hawai’i State Capitol Building, Honolulu, Hawai’i 96813. Governor Ige is sued

herein in his official capacity.

       13.    Defendant Clare E. Connors is the Attorney General for the State of

Hawaiʻi and is sued in her official capacity. She formally approved the proclamations
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and supplements, and is responsible under the law for enforcing its provisions against

entities in violation thereof, including against the Plaintiffs. Defendant Attorney General

is responsible for executing and administering laws, customs, practices, and policies of

the State of Hawaiʻi, and is currently enforcing the laws, customs, practices and policies

complained of in this action.

      14.    Defendant State of Hawaiʻi is the governmental entity under whose

auspices Defendant Ige and Defendant Connors exercise authority and in whose interest

Defendants are expected to act.

      15.    Defendant Kirk Caldwell is the Mayor of the City and County of Honolulu.

Defendant Caldwell offices are located at Honolulu Hale, 530 South King Street,

Honolulu, Hawai’i, 96813. Defendant Caldwell is being sued in his official capacity.

Defendant Caldwell signed Emergency Order No. 2020-01 on March 20, 2020 which

ordered the closure of all bars throughout the City and County of Honolulu, regardless of

whether they served or sold food to their customers, while conversely closing indoor

dining for all restaurants, yet permitting their continued operation for purposes of drive-

thru, pick-up and delivery service.

      16.    Defendant City and County of Honolulu is the governmental entity under

whose auspices Defendant Caldwell exercises authority and in whose interest,

Defendants are expected to act.
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              APPLICABLE EXECUTIVE “SHUTDOWN” ORDERS

      A.     Governor David Ige and the State of Hawaii

      17.    On March 4, 2020 Defendant Governor Ige issued a Proclamation

declaring a state of emergency for the State of Hawaii. The March 4, 2020 Emergency

Proclamation was set to expire on April 29, 2020.           A copy of the Emergency

Proclamation is attached hereto as Exhibit A.

      18.    The March 4, 2020 Proclamation was issued upon authority delegated by

the legislature via Hawaiʻi Revised Statutes (“H.R.S.”) §§ 127A-2,-11,-12, and -14.

Under H.R.S. § 127A-14(d): “A state of emergency and a local state of emergency shall

terminate automatically sixty days after the issuance of a proclamation of a state of

emergency or local state of emergency, respectively, or by a separate proclamation of

the governor or mayor, whichever occurs first.” Defendant Governor Ige circumvented

the limitation upon his delegated authority, however, by issuing a series of

“Supplements” purporting to incorporate the initial Proclamation and extend the period

of the state of emergency far beyond the statutory 60-day limit.

      19.    On March 16, 2020 Defendant Governor Ige issued a Supplementary

Emergency Proclamation, which among other acts, extended the disaster emergency

relief period through May 15, 2020. A copy of the Supplementary Emergency

Proclamation is attached hereto as Exhibit B.

      20.    On March 23, 2020 Defendant Governor Ige issued a Third Supplementary
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Proclamation which among other acts, implemented a mandatory stay at home order,

and closed all ‘non-essential” businesses and operations.              Under the Third

Supplementary Proclamation, which was effective from March 25, 2020 through April

30, 2020, restaurants and other facilities that prepare and serve food, were deemed

essential and permitted to continue to sell and serve food on the condition that the food

was provided on a pick-up, delivery or takeaway basis only. A copy of the Third

Supplementary Proclamation is attached hereto as Exhibit C.

      21.    On April 25, 2020, Defendant Governor Ige issued a Sixth Supplementary

Proclamation which among other acts, reinstated all prior proclamations; continued a

ban on all non-essential activities and businesses; and mandated certain social distancing

requirements, including: (1) six-foot distances, (2) limited customer occupancy, (3)

sanitization and disinfection, (4) face covering, (5) remote access availability, and

others. As part of the Sixth Supplementary Proclamation, the Governor suspended

certain laws “in order for county and state agencies to engage in emergency management

functions…”. One of those laws included HRS Chapter 281, Section 281-31, which

enabled the county liquor commissioners to allow licensees to sell unopened beer, wine

or prepackaged cocktails with food for pick-up, delivery and take-out. Notably, shortly

thereafter, the Honolulu Liquor Commission advised that “[l]icensees engaged in meal

service (not Class-specific) may permit for pick up, delivery, take out, or other means for

consumption off-premises unopened beer, unopened wine, or unopened pre-packaged
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cocktails.” According to the Sixth Supplementary Proclamation, the restrictions were to

take effect on April 25, 2020 and continue and remain in place until May 31, 2020. A

copy of the Sixth Supplementary Proclamation is attached hereto as Exhibit D.

      22.    On May 18, 2020 Defendant Governor Ige issued an Eighth Supplementary

Proclamation which among other acts, reinstated all prior proclamations; continued a

ban on all non-essential activities and businesses; mandated certain social distancing

requirements, and continued the suspension of HRS Chapter 281, Section 281-31.

Similar to the Third Supplemental Proclamation, restaurants and other facilities that

prepared and served food, were deemed essential and permitted to continue to sell and

serve food on the condition that the food was provided on a pick-up, delivery or

takeaway basis only. According to the Eighth Supplementary Proclamation, the disaster

emergency relief period was to continue from the date of the Proclamation through June

30, 2020. A copy of the Eighth Supplementary Proclamation is attached hereto as

Exhibit E.

      23.    On June 10, 2020 Defendant Governor Ige issued a Ninth Supplementary

Proclamation which among other acts, reopened much of the economy provided that

certain social distancing requirements were adhered to by operating businesses.

Notwithstanding, bars and other nightlife venues were not permitted to reopen as they

were not deemed part of the Federal critical infrastructure nor were they identified as a

business permitted to reopen under the “State Roadmap to Recovery and Resilience”, as
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determined by Honolulu County. A copy of the Ninth Supplementary Proclamation is

attached hereto as Exhibit F.

      24.    On July 17, 2020 Defendant Governor Ige issued a Tenth Supplementary

Proclamation, followed by a Twelfth Supplementary Proclamation on August 20, 2020,

and a Thirteenth Supplementary Proclamation on September 22, 2020. All three of these

proclamations were largely consistent with the Ninth Supplemental Proclamation, and

they too prohibited the reopening of bars and other nightlife venues as they were not part

of the Federal critical infrastructure nor were they identified as a business permitted to

reopen under the “State Roadmap to Recovery and Resilience”, as determined by

Honolulu County. The disaster emergency relief period was extended by the Tenth

Supplemental Proclamation to August 31, 2020, then further extended to September 30,

2020 by the Twelfth Supplementary Proclamation (dated August 20, 2020) and then

again, extended to October 31, 2020 by the Thirteenth Supplementary Proclamation

(dated September 23, 2020). A copy of the Tenth Supplementary Proclamation is

attached hereto as Exhibit G. A copy of the Twelfth Supplementary Proclamation is

attached hereto as Exhibit H. A copy of the Thirteenth Supplementary Proclamation is

attached hereto as Exhibit I.

      B.     Mayor Kirk Caldwell and the City and County of Honolulu.

      25.    On March 4, 2020 Defendant Mayor Caldwell issued a Proclamation

declaring a state of emergency for the City and County of Honolulu. The March 4, 2020
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Emergency Proclamation was set to expire sixty (60) days after the date of the

Proclamation. A copy of the Emergency Proclamation is attached hereto as Exhibit J.

      26.    On March 18, 2020 Defendant Mayor Caldwell issued a Supplemental

Proclamation of Emergency or Disaster in which he, among other acts, mandated the

closure of all bars and nightclubs for 15 days, and the closure of all restaurants with the

exception of drive-thru, pickup or delivery service.         Notably, the Supplemental

Proclamation did not define “bar” or “nightclub” despite the fact that many general

dispenser alcohol license holders also hold Department of Health food permits and are

authorized to sell food to its customers. The March 18, 2020 Supplemental Proclamation

was set to expire sixty (60) days after the date of the Proclamation. A copy of the

Supplemental Emergency Proclamation is attached hereto as Exhibit K.

      27.    On March 20, 2020 Defendant Mayor Caldwell issued Emergency Order

No. 2020-01 (“EO1”) which was akin to his March 18, 2020 Supplemental

Proclamation. In EO1, Mayor Caldwell officially mandated the closure of all bars and

nightclubs for 15 days (until April 4, 2020), and the closure of all restaurants with the

exception of drive-thru, pickup or delivery service. EO1 defined a “bar” as “any

establishment primarily engaged in the serving of alcoholic beverages for consumption

by guests on the premises regardless of whether food is served, including but not limited

to taverns, cocktail lounges, karaoke rooms/areas, and cabarets, and including outdoor

areas of such establishments.” Conversely, “restaurant” was defined as “an eating
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establishment, including but not limited to, coffee shops, cafeterias, sandwich stands,

and the like, which offer for sale food to the public, guests, or employees for

consumption within the establishment. The term “Restaurant” includes a bar area within

a Restaurant and outdoor areas of a Restaurant”. A copy of the EO1 is attached hereto

as Exhibit L.

      28.    On March 22, 2020 Defendant Mayor Caldwell issued Emergency Order

No. 2020-02 (“EO2”) in which he imposed a “Stay at Home, Work from Home Order”

that closed all ‘non-essential” businesses and operations. Under EO2, “restaurants and

other facilities that prepare and serve food”, were deemed essential and permitted to

continue to sell and serve food on the condition that the food was provided on a pick-up,

delivery or takeaway basis only. EO2 became effective on March 23, 2020 and was to

continue until April 30, 2020 unless earlier terminated. A copy of the EO2 is attached

hereto as Exhibit M.

      29.    On April 29, 2020 Defendant Mayor Caldwell issued Emergency Order

No. 2020-09 (“EO9”) in which he extended the EO4 “Stay at Home, Work from Home

Order” that closed all ‘non-essential” businesses and operations.          Under EO2,

“restaurants and other facilities that prepare and serve food”, were deemed essential and

permitted to continue to sell and serve food on the condition that the food was provided

on a pick-up, delivery or takeaway basis only. EO9 continued until May 18, 2020. A

copy of the EO9 is attached hereto as Exhibit N.
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      30.    On May 6, 2020 Defendant Mayor Caldwell issued a Second Supplemental

Proclamation extending the state of emergency for the City and County of Honolulu.

Until July 17, 2020. A copy of the Second Supplemental Proclamation is attached hereto

as Exhibit O.

      31.    On the same date, May 6, 2020, Defendant Mayor Caldwell issued

Emergency Order No. 2020-10 (“EO10”) further extending the EO4 “Stay at Home,

Work from Home Order” through May 31, 2020, which was subsequently extended until

June 30, 2020 via Mayor Caldwell’s May 13, 2020 Emergency Order No. 2020-11

(“EO11”). A copy of the EO10 is attached hereto as Exhibit P. A copy of the EO11 is

attached hereto as Exhibit Q.

      32.    On May 21, 2020, Defendant Mayor Caldwell issued Emergency Order

No. 2020-13 (“EO13”) authorizing restaurants to reopen indoor dining subject to certain

social distancing, reduced occupancy, covid mitigation, operational, and hygiene

regulations. Notably, bars and nightclubs were not permitted to reopen (indoor service or

delivery/take-away) regardless of whether the establishments possessed a DOH food

permit, and regardless of the fact food service establishments were now permitted to sell

both food and alcohol to go. A copy of the EO13 is attached hereto as Exhibit R.

      33.    On June 20, 2020 Defendant Mayor Caldwell issued a Third Supplemental

Proclamation extending the state of emergency for the City and County of Honolulu.

Until July 31, 2020. A copy of the Third Supplemental Proclamation is attached hereto
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as Exhibit S.

      34.    On June 19, 2020 Defendant Mayor Caldwell issued Emergency Order No.

2020-16 (“EO16”) authorizing bars to reopen subject to certain social distancing,

reduced occupancy, covid mitigation, operational, and hygiene regulations. A copy of

the EO16 is attached hereto as Exhibit T.

      35.    On July 29, 2020 Defendant Mayor Caldwell issued Emergency Order No.

2020-21(“EO21”) reordering the closure of all bars and nightclubs. A copy of the EO21

is attached hereto as Exhibit U. According to EO21, “due to ongoing and heightened

public health concerns linked to the spread of COVID-19, effective immediately and

until further notice, [] bars may not operate within the City. Specifically, EO21 defines

a “bar” as a Class 2, 5, 6, 10, 11, 12, 13, 14, 15, 16, 17, or 18 liquor license, as defined

by the Rules of the Liquor Commission of the City and County of Honolulu, with the

exception of restaurants operating under Class 12. Attached hereto as Exhibit V is the

General Guide for Liquor Licenses from the Honolulu Liquor Commission detailing the

various license classifications. EO21 became effective on July 29, 2020 and was to

continue until August 31, 2020.

      36.    On July 29, 2020 Defendant Mayor Caldwell issued a Fourth Supplemental

Proclamation extending the state of emergency for the City and County of Honolulu.

Until August 31, 2020, followed by an August 6, 2020 Fifth Supplemental Proclamation

further extending the state of emergency for the City and County of Honolulu. Until
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September 30, 2020. A copy of the Fourth Supplemental Proclamation is attached hereto

as Exhibit W.

      37.    On August 6, 2020 Defendant Mayor Caldwell issued Emergency Order

No. 2020-23 (“EO23”) in which he imposed a second “Stay at Home, Work from Home

Order” that closed all ‘non-essential” businesses and operations.         Under EO23,

“restaurants and other facilities that prepare and serve food”, were deemed essential and

permitted to continue to sell and serve food on the condition that the food was provided

on a pick-up, delivery or takeaway basis only. Bars were not permitted to open, even for

delivery or take-out purposes, regardless of food service. EO23 became effective on

August 8, 2020 and was to continue until September 4, 2020 unless earlier terminated. A

copy of EO23 is attached hereto as Exhibit X.

      38.    On August 18, 2020 Defendant Mayor Caldwell issued Emergency Order

No. 2020-24 (“EO24”), followed by Emergency Order No. 2020-25 on August 25, 2020

(“EO25”), and Emergency Order No. 2020-26 on September 8, 2020 (“EO26”), all of

which was essentially the second “Stay at Home, Work from Home Order” until

September 23, 2020. A copy of the EO24 is attached hereto as Exhibit Y. A copy of the

EO25 is attached hereto as Exhibit Z. A copy of the EO26 is attached hereto as Exhibit

AA.

      39.    On or about September 23, 2020 Defendant Mayor Caldwell released

Honolulu’s COVID-19 Recovery Framework (“HCRF”) which was designed to, among
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other things, “reduce the likelihood of having to impose drastic restrictions (e.g. stay at

home / work from home orders) on City residents’ activities outside of their

homes/dwellings.” The HCRF is a four tier framework “determined by two criteria: (1)

the number of daily cases reported; and (2) the positivity rate, using 7-day averages for

both metrics over two or four week periods...”. A copy of the HCRF is attached hereto

as Exhibit BB.

      40.      The HCRF provides:

      Activities and designated businesses and operations will be opened (with
      mitigation measures) under Honolulu’s COVID-19 Recovery Framework using
      the risk-based criteria, as outlined below. Those with lower risk of spreading
      COVID-19 will be allowed sooner, and those presenting higher risk of spread
      COVID-19 will be allowed later. Criteria used to determine low/medium/high risk
      activities, businesses, and operations:

            • Ability to accommodate wearing face coverings at all times;

            • Ability to physically distance between individuals from different
              households;

            • Ability to limit the number of people per square foot;

            • Ability to limit duration of exposure;

            • Ability to limit amount of mixing of people from differing households and
              communities;

            • Ability to limit amount of physical interactions of visitors/patrons;

            • Ability to optimize ventilation (e.g. indoor vs outdoor, air exchange and
              filtration);

            • Ability to limit activities that are known to cause increased spread (e.g.
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               singing, shouting, heavy breathing; loud environs that cause people to raise
               voice);

            • Ability to enforce restrictions and required mitigations measures

      41.      Under the HCRF, restaurants, bowling alleys, tours, commercial

recreational boating, open trolleys, salons, barbershops, all retail and service providers,

malls, churches, zoos, sea life attractions, aquariums, museums, botanical gardens,

movie theaters, group physical activity classes, and outdoor gyms are all permitted to

reopen, with restrictions under Tier 1.

      42.      As of the date of this Complaint, Honolulu remains in Tier 1.

      43.      Unfortunately, for bars and nightclubs, they are not permitted to open under

the HCRF until Tier 4, and even then, only with “Special Restrictions and

Requirements”. At Tier 4, nearly every other business referenced in Paragraph 42 above

is permitted to open with no, or limited, restrictions.

      44.      On September 23, 2020 Defendant Mayor Caldwell issued a Sixth

Supplemental Proclamation extending the state of emergency for the City and County of

Honolulu. Until October 31, 2020.

                               STATEMENT OF FACTS

      45.      From March 20, 2020 through June 19, 2020, and from July 29, 2020

through the present day, 185+ day in total, Plaintiffs, and all others similar situated, were

ordered by Defendants' to cease operations until further notice. During this entire time

period, businesses such as Target, Walmart and Home Depot were allowed to remain
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open for on premises shopping as "Essential" businesses. Similarly, during this entire

time period, restaurants were deemed essential and permitted to remain open, albeit for a

few weeks they were limited to take-out and delivery. Meanwhile, Plaintiffs, and all

others similarly situated, health protocols are sufficiently similar to those businesses that

were allowed to remain open.

      46.     Defendants' executive orders and proclamations do not provide a pre- or

post- deprivation remedy to question "essential" or to determine whether Plaintiffs can

open with the same health related protocols as the "essential" businesses allowed to

open. There has never been any health inspection of the Plaintiffs’, and all others

similarly situated, restaurants and bars, no analysis of the health status of restaurants and

bars as essential and no analysis of Plaintiffs', and all others similarly situated, health

related protocols to see if they meet the same health standards as allowed for essential

businesses.

      47.     There was a list of businesses that were allowed to remain open for on-

premises operations and that classification was neither reasonable nor rational, but rather

random and unsupported by data, and therefore a denial of due process.

      48.     The State and City and County of Honolulu continues to govern

capriciously and arbitrarily by allowing bars and nightlife venues to open and operate

everywhere in the State, subject to adherence to CDC guidance, except for Oahu.

      49.     In a recent United States Senate Health, Education, Labor & Pensions
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Committee Hearing, Senator Rand Paul, a doctor said the following, "It is a fatal conceit

to believe that any one person or small group of people have the knowledge necessary to

direct an economy, or dictate, public health behavior." "Government health experts need

to show caution in their prognostications. It is important to realize that if society meekly

submits to an expert and that expert is wrong, a great deal of harm may occur."1

      50.      What were initially billed as temporary measures necessary to "flatten the

curve" and protect hospital capacity have become open-ended restrictions aimed at a

very different end – namely, stopping the spread of an infectious disease and preventing

new cases from arising - which requires ongoing efforts and may never result in the

complete eradication of this novel coronavirus.

      51.      The Courts may provide state and local officials greater deference when

making time-sensitive decisions in the midst of an emergency but the deference cannot

go on forever. It is no longer March, April or May. It is now late October and

Defendants have no anticipated end-date to their emergency interventions.

      52.      Absent a robust system of checks and balances, the guarantees of liberty set

forth in the Constitution are just ink on parchment. There is no question that a global

pandemic poses serious challenges for governments. But the response to this pandemic

or any emergency for that matter cannot be permitted to undermine our system of

constitutional liberties or the system of checks and balances protecting those liberties.


      1
          U.S. Senate Health, Education, Labor & Pensions Committee Hearing, 6/29/20
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Defendants have been permitted to act, and continue to act, with no input from the

legislature. The judiciary remains the ONLY check on the exercise of Defendants'

power.

      53.    As reported by the Star Advertiser on September 21, 20202:

             Hawaii had the second--highest rate among states for permanent
             business closures from March 1 to July 10, at 6.9 permanent closures
             per 1,000 businesses.

             Hawaii’s rate, which trailed only Nevada at 7.3, suggests that more
             than 1,000 Hawaii businesses may have already folded, based on
             roughly 150,000 commercial establishments reflected in 2018 state
             data. About 33,000 of total businesses had employees while 113,000
             did not, according to the data.

             Yelp also said Honolulu’s permanent business closure rate of 7.9 was
             third-highest among U.S. cities, behind only Las Vegas and Stockton,
             Calif., and just ahead of San Francisco.

             “Cities such as San Francisco and Honolulu, which have had some of
             the nation’s strictest stay-at-home orders, are now seeing the highest
             numbers of closures relative to the number of businesses in their
             respective cities,” the Yelp report said.

      54.    With the exception of the time periods during the first and second

shutdowns, all nearly all businesses, essential and non-essential, were permitted to

open and operate, provided that they adhered to social distancing and other CDC

guidance and State/City regulations.       There was, and there is, no rationale that

supports the decision to keep bars and nightlife venues closed.


      2
       https://www.staradvertiser.com/2020/09/20/hawaii-news/hawaii-businesses-claimed-by-
      covid-19-could-total-1000-on-way-to-25000/
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      55.    Assuming, arguendo, that the decision turned on whether bars were able to

provide an essential service, notwithstanding the fact that most open businesses do not,

Plaintiffs, and all others similarly situated, are able to provide its customers an essential

service. Plaintiffs, and all others similarly situated, can provide dining indoors, just like

every other restaurant in Hawaii. Notably, every bar on Oahu is required to have a food

service establishment permit (restaurant classification) which permits them to sell food

and beverage to its customers. The only distinction is whether the bar has an on-site

kitchen that authorizes them to prepare food on-premises, as opposed to an

establishment with no kitchen that is nonetheless permitted to sell prepackaged food

products (e.g. bentos, sandwiches, salads, etc.) or contract with a local restaurant to

service the bar’s customers.

      56.    Plaintiffs, and all others similarly situated, have or are able to conform

their restaurants and bars in accordance with the State Roadmap to Recovery and

Resilience, and the restrictions set forth in Mayor Caldwell’s Executive Orders as they

apply to restaurants, in that they are able to provide food options for their customers.

      57.    Plaintiffs, and all others similarly situated, have been affected terribly by

the Governor's executive orders. Under threat of criminal penalties, Plaintiffs, and all

others similarly situated, have been forced to close depriving the Plaintiffs, and all

others similarly situated, of their liberty and property interests without due process. At

the same time, without offering any justification, the Mayor has allowed restaurants
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with full service, free standing customer bars to reopen. Similarly, the Governor and

Mayors of the Counties of Kauai, Maui and Hawaii have not only permitted

restaurants to reopen, but bars as well.

       58.   Each of the foregoing establishments must also adhere to guidance from

the U.S. Centers for Disease Control and Prevention ("CDC") on "social distancing"

and, as it pertains to restaurants on Oahu, the restrictions set forth in Mayor

Caldwell’s Executive Orders. Plaintiffs, and all others similarly situated, are fully

capable of adhering to those same guidelines if allowed to open at 50% capacity, with

or without a requirement that food service be offered.

       59.   At the present time, Plaintiffs, and all others similarly situated, have lost

several million dollars in revenue and have had to lay off countless employees

throughout Honolulu.

                         CLASS ACTION ALLEGATIONS

       60.   This action meets all the requirements of a class action under C.P.L.R. §

901.

       61.   The putative Class consists of all bars and venues holding a Class 2, 5, 6,

10, 11, 12, 13, 14, 15, 16, 17, or 18 liquor license, as defined by the Rules of the Liquor

Commission of the City and County of Honolulu, who have been shut down by

Defendant Governor Ige's Proclamations and Defendant Mayor Caldwell’s executive

orders since March 18, 2020. The putative Class continues to be shut down as of the date
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of this Complaint with no reasonable expectation of reopening in the near future.

      62.    Excluded from the Class are Defendants.

      63.    While Plaintiffs do not know the exact number of the members of the

Class, Plaintiffs believe there will be a few to several hundred members.

      64.    The legal constitutionality or unconstitutionality of the enforcement of

the executive shutdown orders and in the continued enforcement of the executive

shutdown orders constitute questions common to the Class and predominates over any

question affecting only individual members.

      65.    The claim for a declaration of unconstitutionality and the claim for a

Taking by the Plaintiffs, as Class representatives, are typical of the claims of the

members of the Class. Plaintiffs and all members of the Class are similarly affected by

Defendants' unconstitutional executive shutdown orders and their enforcement

thereof.

      66.    Plaintiffs, as class representatives, will fairly and adequately protect the

interests of the Class. Plaintiffs’ claims arise out of the same common course of

conduct giving rise to the claims of other members of the Class. Plaintiffs’ interests

are coincident with, and not antagonistic to those of the other members of the Class.

Plaintiffs are represented by counsel who are competent and experienced in the

prosecution of Equal Protection, Due Process, Constitutional and Takings claims.
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       67.    A class action is superior to any other method for the resolution of this

dispute, in that, among other things, such treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence,

effort, and expense that numerous individual actions would engender. The benefits of

proceeding through the class mechanism, including providing injured bar owners with

a method of obtaining redress for claims that might not be practicable to pursue

individually, substantially outweigh any difficulties that may arise in the management

of this class action.

       68.    The prosecution of separate actions by individual members of the Class

would create a risk of inconsistent and varying adjudications, establishing

incompatible standards of conduct for Defendants.

                        COUNT I - PROCEDURAL DUE PROCESS

       69.    Plaintiffs incorporate paragraphs 1-68 as if fully set forth herein.

       70.    "Every person who, under color of any statute, ordinance, regulation,

custom, or usage, of any State ... subjects, or causes to be subjected, any citizen of the

United States or other person within the jurisdiction thereof to the deprivation of any

rights, privileges, or immunities secured by the Constitution and laws, shall be liable

to the party injured in an action at law, suit in equity, or other proper proceeding for

redress." 42 U.S.C. § 1983.
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      71.    The Due Process Clause of the Fourteenth Amendment to the U.S.

Constitution provides that no State can "deprive any person of life, liberty, or

property, without due process of law." U.S. Const. amend. XIV,§ 1, cl. 3.

      72.    The procedural component of the Due Process Clause prohibits

government from depriving Plaintiffs and members of the putative Class of liberty and

property interests without providing any process before or after the deprivations

occurred.

      73.    To establish a procedural due process claim under 42 U.S.C. § 1983,

Plaintiffs and Class members must show that (1) they had a life, liberty, or property

interest protected by the Due Process Clause; (2) they were deprived of this protected

interest; and (3) the state did not afford them adequate procedural rights. See Daily

Servs., LLC v. Valentino, 756 F.3d 893, 904 (6th Circ. 2014).

      74.    Plaintiffs and the putative Class members have a protected liberty interest

in the right to live without arbitrary governmental interference with their liberty and

property interests. County of Sacramento v. Lewis, 523 U.S. 833, 845 (1988).

      75.    Liberty "denotes not merely freedom from bodily restraint but also the

right of the individual to contract, to engage in any of the common occupations of life,

to acquire useful knowledge, to marry, establish a home and bring up children, to

worship God according to the dictates of his own conscience, and generally to enjoy

those privileges long recognized ... as essential to the orderly pursuit of happiness by
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free men." Board of Regents of State Colleges v. Roth, 408 U.S. 564,572 (1972)

(emphases added).

      76.    Plaintiffs and members of the putative Class have protected liberty and

property interests, which Defendants infringed through the Executive shutdown

Orders:

             a.     Plaintiffs and members of the putative Class have been, and are

                    being, denied the right to operate their bars at the present time and

                    since March and will be allowed to for the foreseeable future.

                    They cannot survive without operating.

      77.    Neither Governor Ige nor Mayor Caldwell provided any procedural due

process before issuing the executive shutdown Orders and Proclamations. Nor do the

shutdown Orders or Proclamations provide any mechanism for post- deprivation

review.

      78.    Governor Ige nor Mayor Caldwell acted under color of law in their

official capacities and within the scope of their official duties when issuing the

executive shutdown Orders and Proclamations.

      79.    As a direct and proximate cause of the failure to provide any pre- or post-

deprivation process, Plaintiffs and members of the putative class suffered prejudice

under threat of criminal and civil sanctions.
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      80.    Governor Ige’s Proclamations acknowledge that bars outside of Honolulu

can safely operate like other businesses by adhering to "social distancing" rules.

      81.    Plaintiffs and members of the putative class can operate in full

compliance with all of these rules.

      82.    By failing to provide any pre- or post-deprivation review of the Orders

and Proclamations shuttering their businesses, Plaintiffs and members of the putative

Class are suffering substantial losses of liberty and property:

             a.       Plaintiffs and members of the putative class have lost significant

                      revenue over the eight months since the executive shutdown

                      Orders went into effect.

      83.    The prejudice that Plaintiffs and members of the putative Class have

suffered would not have occurred but for Defendants' deprivations of their liberty and

property interests.

      84.    Plaintiffs and members of the putative Class seek a declaration that the

executive shutdown Orders and Proclamations, at-least as they pertains to the ongoing

closures of bars and nightlife venues, violate the procedural component of the Due

Process Clause, and an injunction against further infringements of their rights under

this Clause as described in the Prayer for Relief.

                      COUNT II. - SUBSTANTIVE DUE PROCESS

      85.    Plaintiffs incorporates paragraphs 1-84 as if fully set forth herein.
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      86.    "Every person who, under color of any statute, ordinance, regulation,

custom, or usage, of any State ... subjects, or causes to be subjected, any citizen of the

United States or other person within the jurisdiction thereof to the deprivation of any

rights, privileges, or immunities secured by the Constitution and laws, shall be liable

to the party injured in an action at law, suit in equity, or other proper proceeding for

redress." 42 U.S.C. § 1983.

      87.    The Due Process Clause of the Fourteenth Amendment to the U.S.

Constitution provides that no State can "deprive any person of life, liberty, or

property, without due process of law." U.S. Const. amend. XIV,§ 1, cl. 3.

      88.    The substantive component of the Due Process Clause prohibits

government from taking action that "shocks the conscience" or "interferes with rights

implicit in the concept of ordered liberty." United States v. Salerno, 481 U.S. 739, 746

(1987) (cleaned up).

      89.    Plaintiffs and members of the putative Class have a protected liberty

interest in the right to live without arbitrary governmental interference with its liberty

and property interests. County of Sacramento v. Lewis, 523 U.S. 833, 845 (1988).

      90.    Liberty "denotes not merely freedom from bodily restraint but also the

right of the individual to contract, to engage in any of the common occupations of life,

to acquire useful knowledge, to marry, establish a home and bring up children, to

worship God according to the dictates of his own conscience, and generally to enjoy
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those privileges long recognized ... as essential to the orderly pursuit of happiness by

free men." Board of Regents of State Colleges v. Roth, 408 U.S. 564, 572 (1972)

(emphases added).

      91.    The Executive Shutdown Orders and Proclamations shock the conscience

and interfere with Plaintiffs’ and members of the putative Class deeply-rooted liberty

and property rights, including the right to work, right to contract, and right to engage

in commerce, for all of the reasons described in the General Allegations and in each of

the Counts of this Complaint, which are incorporated into this Paragraph by reference.

      92.    Plaintiffs and members of the putative Class could and can conduct

business in full compliance with all of the rules imposed on restaurants and bars

which are currently permitted to operate elsewhere in the State. Thus, the shutdown

Orders are not narrowly tailored to achieve a compelling governmental interest.

      93.    Nor is there any rational basis any longer since the virus is relatively

under control to deprive Plaintiffs and members of the putative Class of their liberty

and property interests in performing services for willing customers when they can do

so safely and in the same (or reasonably safe equivalent) manner as other businesses

allowed to operate (such as manufacturing, other restaurants and bars throughout the

state, bowling alleys, tours, commercial recreational boating, open trolleys, salons,

barbershops, all retail and service providers, malls, churches, zoos, sea life attractions,
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aquariums, museums, botanical gardens, movie theaters, group physical activity

classes, and outdoor gyms).

      94.    As recently stated by Dr. David Nabarro of the World Health

Organization, “[w]e in the World Health Organization do not advocate lockdowns as

the primary means of control of this virus,” He added that lockdowns can only be

justified “to buy you time to reorganize, regroup, rebalance your resources, protect

your health workers who are exhausted. But by and large, we’d rather not do it.”

Nabarro went on to describe how “lockdowns just have one consequence that you

must never, ever belittle, and that is making poor people an awful lot poorer.”

      95.    In the alternative, the Executive shutdown Orders are not reasonably

related to a legitimate governmental interest.

      96.    Governor Ige and Mayor Caldwell acted under color of law in an official

capacity and within the scope of their official duties when issuing the shutdown

Orders and Proclamations.

      97.    Plaintiffs and members of the putative Class seek a declaration that the

Executive shutdown Orders violate the substantive component of the Due Process

Clause, and an injunction against further infringements of its rights under this Clause

as described in the Prayer for Relief.

                        COUNT III- EQUAL PROTECTION

      98.    Plaintiffs incorporate paragraphs 1-97 as if fully set forth herein.
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      99.    "Every person who, under color of any statute, ordinance, regulation,

custom, or usage, of any State ... subjects, or causes to be subjected, any citizen of the

United States or other person within the jurisdiction thereof to the deprivation of any

rights, privileges, or immunities secured by the Constitution and laws, shall be liable

to the party injured in an action at law, suit in equity, or other proper proceeding for

redress." 42 U.S.C. § 1983.

      100. The Equal Protection Clause of the Fourteenth Amendment to the U.S.

Constitution provides that no State can "deny to any person within its jurisdiction the

equal protection of the laws." U.S. Const. amend. XIV,§ 1, cl. 4.

      101. The Executive shutdown Orders deprive Plaintiffs and members of the

putative Class of the equal protection of the law because they allow all restaurants

with bars on Oahu, and all restaurants and bars outside Honolulu to operate, albeit at a

reduced capacity, but not Plaintiffs’ and members of the putative Class's businesses,

even though they are similarly situated.

      102. Under Mayor Caldwell’s executive orders, all bars in the City and

County of Honolulu must remained closed until Tier 4 is reached, which is not

reasonably expected to occur until 2021, and even then, it is unknown what

restrictions and reduced occupancy will be placed on bars that are permitted to reopen

at that time. This Tier 4 designation is completely arbitrary, random and capricious,

considering that Plaintiffs can maintain equivalent strict social distancing but are not
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allowed to re-open until some presently unknown future date, and in fact can be

criminalized for doing so.

      103. This is even more unreasonable given Governor Ige's Sixth Proclamation

which suspended HRS Chapter 281, Section 281-31 and authorized the off-premises

sale of alcohol, and the fact that the Food Service Permits held by Plaintiffs and the

members of the putative Class’s business permit them to sell food, both on and off

premises. Only on-premises preparation of food is limited, and that restriction can be

easily overcome, per the Department of Health.

      104. Plaintiffs and members of the putative Class could and can conduct

business in full compliance with all of the rules imposed on restaurants, bars and other

businesses allowed to operate at 50% indoor capacity, or reasonably equivalent and

equally safe measures tailored to the unique nature of the indoor dining. Thus, the

Executive Orders and Proclamations are not narrowly tailored to achieve a compelling

governmental interest.

      105. In the alternative, the Executive Orders and Proclamations, as they

pertain to the shut down and ongoing restrictions on bars and nightlife venues, are not

reasonably related to a legitimate governmental interest.

      106. Governor Ige and Mayor Caldwell acted under color of law in an official

capacity and within the scope of their official duties when issuing the shutdown

Orders and Proclamations.
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      107. Plaintiffs and members of the putative Class seek a declaration that the

Executive shutdown Orders and Proclamations violate the Equal Protection Clause,

and an injunction against further infringements of their rights under this Clause as

described in the Prayer for Relief.

           COUNT IV- EQUAL PROTECTION UNDER STATE LAW

      108. Plaintiffs incorporate paragraphs 1-107 as if fully set forth herein.

      109. Article 1 § 5 of the Hawaii Constitution states that " No person shall be

deprived of life, liberty or property without due process of law, nor be denied the

equal protection of the laws…”.

      110. By classifying businesses into essential v. non-essential, the State is

treating like businesses differently. In addition, by allowing bars to open based on

where they are located is treating like businesses differently. Similarly, allowing two

restaurants with bars to be treated differently is simply unconstitutional, particularly

since the Executive Orders and Proclamations do not require customers to purchase

food with their alcoholic beverages. Thus, a customer can walk into any restaurant

that serves alcohol and consume their beverage, on-site, without any requirement that

they order and consume food.

      111. Across the State businesses have now re-opened and are operating and

restaurants (both within and outside of Honolulu) and bars outside of Honolulu are

allowed to operate at 50% capacity, while Plaintiffs and members of the putative
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Class have been ordered to shut down until Tier 4 is reached, which is not reasonably

expected to occur until 2021, even though Plaintiffs and members of the putative

Class's health protocols are sufficiently similar to those businesses that were allowed

to stay open. In-deed, the given the underlying methodology of the tiered system, it is

entirely conceivable that Tier 4 may never reached, given the difficulty in eradicating

other forms of the novel coronavirus.

      112. Defendants' Executive Orders and Proclamations did not provide a pre- or

post- deprivation remedy to question "essential" or to question whether or not bars can

operate safely indoors in Honolulu at 50% indoor capacity. There has never been any

health inspection of the Plaintiffs’, and all others similarly situated, restaurants and bars,

no analysis of the health status of restaurants and bars as essential and no analysis of

Plaintiffs', and all others similarly situated, health related protocols to see if they meet

the same health standards as allowed for essential businesses.

      113. The unequal, random, arbitrary and unfair treatment has continued in the

re- opening guidance. Restaurants, bowling alleys, tours, commercial recreational

boating, open trolleys, salons, barbershops, all retail and service providers, malls,

churches, zoos, sea life attractions, aquariums, museums, botanical gardens, movie

theaters, group physical activity classes, and outdoor gyms are allowed to open their

doors, but bars and nightlife venues in Honolulu remains locked down until Tier 4 is

reached.
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      114. In his September 22, 2020 news conference3, Mayor Caldwell was asked

‘[i]f bars can’t open, why is it fair for restaurants to serve alcohol?” Mayor Caldwell

responded, ‘[b]ecause, when you are in a restaurant, you are sitting at a table in a

group of 5 and you are much better managed. We know at bars, that does not occur

and, we know of examples of bars, including during the stay at home, work at home

order, still being open. Brix & Bones…open…bad bad example.”4

      115. Mayor Caldwell’s rationale constitutes random, arbitrary and unfair

treatment, based on the actions of one or a few operators, rather than a considered

approach to ensure the equal protection of all citizens, particularly since there is no

reasonable basis upon which to contend that bars cannot appropriately manage their

customers.

      116. As a result of the unequal treatment of like businesses, the executive

lockdown orders violate Article 1, § 5 of the Hawaii Constitution.

                            PRELIMINARY INJUNCTION

      117. Plaintiffs incorporate paragraphs 1-116 as if set forth herein.

      118. All of the acts of Defendants, their officers, agents, employees, and

servants were executed and are continuing to be executed by Defendants under the

color and pretense of the executive orders.


      3
        https://www.hawaiinewsnow.com/2020/09/22/caldwell-oahus-bars-nightclubs-likely-
      shuttered-until-least-december/
      4
        Notably, as of the date of this Complaint, Brix and Bones is legally open and operating.
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      119. Plaintiffs and members of the putative Class are suffering irreparable

harm from the conduct of Defendants, including the resultant permanent closure of

innumerable bars throughout Oahu.

      120. Plaintiffs and members of the putative Class have no adequate remedy at

law to correct or redress the deprivation of its rights by Defendants.

      121. Unless the enforcement of the executive orders is enjoined, Plaintiffs and

members of the putative Class will continue to suffer grave irreparable harm.

 VIOLATION OF THE TAKINGS CLAUSE OF THE FIFTH AMENDMENT

      122. Plaintiffs incorporate paragraphs 1-121 as if set forth herein.

      123. The Supreme Court has long held that "the Fifth Amendment... was

designed to bar Government from forcing people alone to bear public burdens which,

in all fairness and justice, should be borne by the public as a whole." See Armstrong v.

United States, 364 U.S. 40, 49 (1960).

      124. Defendant's Executive Orders and Proclamations mandated that because

Plaintiffs and members of the putative Class were a "non-essential" business,

Plaintiffs and members of the putative Class were ordered to "shut down" and cease

all operations as a means to help curb the spread of covid-19. Such a mandate

completely and unconstitutionally deprived Plaintiffs and members of the putative

Class, of the economically beneficial use of their business without just compensation.
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      125. Defendants’ Proclamations and Orders adversely impacts the Plaintiffs’

use of their Tangible Property and Physical Locations to such an extent that the Order

entirely diminishes the economically beneficial use of those properties. Stated another

way, Defendants’ Proclamations and Orders prohibit all economically beneficial and

profitable uses of the Plaintiffs’ tangible property and physical location. The entirety

of the Plaintiffs’ property rights have been extinguished

      126. The Supreme Court has long recognized that a Taking may be effected

not only by government's physical occupation of private property but also by

regulations that "go too far." See Tahoe-Sierra Presidential Council v. Tahoe Regional

Planning Agency, 535 U.S. 302 (2002).

      127. As of the date of this Complaint, Plaintiffs and members of the putative

Class have been ordered to shutdown for 225+ days even though restaurants with bars

are permitted to open and operate without any food service requirements, and bars are

permitted to open and operate elsewhere in the State.

      128. Defendants’ Executive Orders and Proclamations, and the enforcement

thereof has caused both a complete and total regulatory and physical taking of

Plaintiffs’ and members of the putative Class's property without just compensation in

violation of the Takings Clause of the Fifth Amendment to the U.S. Constitution. As a

result, Defendants' blatant violation of the Takings Clause of the 5th Amendment has

caused proximate and legal harm to Plaintiffs and members of the putative Class.
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       129. Plaintiffs and members of the putative Class are entitled to just

compensation in the form of lost income from the use of its property.

       130. The Takings Clause “…is designed not to limit the governmental

interference with property rights per se, but rather to secure compensation in the event

of otherwise proper interference amounting to a taking.” Lingle v. Chevron U.S.A.

Inc., 544 U.S. 528, 536-37 (2005) (quoting First English Evangelical Lutheran Church

of Glendale v. County of Los Angeles, 482 U.S. 304, 315 (1987) (emphasis in

original)).

       131. The Takings Clause bars government actors “…from forcing some

people alone to bear public burdens which, in all fairness and justice, should be borne

by the public as a whole.” Armstrong v. United States, 364 U.S. 40, 49 (1960).

       132. Plaintiffs and members of the putative Class have no adequate remedy at

law and will suffer serious and irreparable harm to their constitutional rights unless

Defendants are enjoined from implementing and enforcing the executive shutdown

orders.

       133. The Plaintiffs have suffered a complete loss of “all economically

beneficial uses” of their property while the Defendants’ proclamations and orders

remain in effect. This complete loss constitutes a categorical taking, whether it is the

Plaintiffs’ inability to operate their businesses at their physical locations or their
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inability to exercise any of their other property rights with regard to their tangible

property. See Lucas v. S.C. Coastal Council, 505 U.S. 1003, 1019 (1992).

      134. The Plaintiffs “have been called upon to sacrifice all economically

beneficial uses [for their properties] in the name of the common good, that is to leave

[their] properties economically idle and they have suffered a taking.” Lucas, 5050

U.S. at 1019. This sacrifice is not being exerted upon the rest and remainder of the

Honolulu County hospitality industry nor is the application of this Order evenly

executed for its stated purpose. There is absolutely NO equal application of this

onerous Order.

      135. In the alternative, under the framework articulated by the Supreme Court

in Penn Central, the Defendants’ proclamations and orders constitute a taking based

upon “the magnitude of [the Orders] economic impact and the degree to which [the

Orders] interfere with legitimate property interests.” Lingle, 544 U.S. 528 at 540. 41.

      136. The Supreme Court’s analysis in Penn Central sets forth the framework

for assessing whether government action is considered a regulatory taking, identifying

“several factors that have particular significance.” Penn Central Transp. Co. v. New

York City, 438 U.S. 104, 124 (1978).

      On the other hand, if the regulation “fall[s] short of eliminating all

      economically beneficial use, a taking nonetheless may have occurred,”

      Palazzolo [v. Rhode Island], 533 U.S. [606] at 617, 121 S.Ct 2448[, 150
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      L.Ed.2d 592 (2001)], and the court looks to three factors to guide its

      inquiry: (1) “[t]he economic impact of the regulation on the

      claimant,” (2) “the extent to which the regulation has interfered

      with distinct investment-backed expectations,” and (3) “the

      character of the governmental action,” Penn Cent., 438 U.S. at 124,

      98 S. Ct. 2646. While these factors provide “important guideposts,”

      “[t]he Takings Clause requires careful examination and weighing of all

      the relevant circumstances.” Palazzolo, 533 U.S. at 634, 121 S.Ct. 2448

      (O’Connor, J., concurring); see also Tahoe-Sierra, 535 U.S. at 321, 122

      S.Ct. 1465 (whether a taking has occurred “depends upon the particular

      circumstances of the case”); Yee v. City of Escondido, 503 U.S. 519,

      523, 112 S.Ct. 1522, 118 L.Ed.2d 153 (1992) (regulatory taking claims

      “entail[] complex factual assessments”). Lost Tree Vill. Corp v. United

      States, 115 Fed. Cl. 219, 228 (2014) (emphasis added).

      137. Since Defendants’ proclamations and orders, the Plaintiffs have not been

permitted to use their physical locations to operate their businesses, nor have they

been allowed to use their tangible property for any economically profitable use.

Indeed, despite the fact that Plaintiffs and those similarly situated are legally permitted

to sell food in accordance with their food service establishment permits, they are being

banned from doing so.
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      138. The physical locations of the Plaintiffs are not usable for any purpose,

nor can these affected physical locations currently be bought, sold or leased, nor can

the Plaintiffs’ tangible property be used to generate income while the Defendants’

proclamations and orders are in effect.

      139. The Defendants’ proclamations and orders re about to either entirely

drain the Plaintiffs’ property of all economic value during its pendency or has already

done so. In either event, the diminution of value and government interference caused

by this Order is an unconstitutional taking without just compensation.

                                PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs, on behalf of itself and the Class, respectfully ask the

Court to grant Plaintiffs the following relief:

      A.     Designation of this action as a class action;

      B.     Designation of Plaintiffs as representative Plaintiffs of all Honolulu bars

             and nightlife operations that have been unconstitutionally shut down

             since March 20, 2020, due to Defendants' Executive Orders and

             Proclamations;

      C.     A declaratory judgment that the Executive shutdown Orders and

             Proclamations violate Plaintiffs’ and Members of the Putative Class's

             constitutional rights as set forth in this Complaint; are void for vagueness

             and not narrowly tailored; and/or enjoin Governor Ige and Mayor
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           Caldwell from enforcing the Executive Orders and Proclamations as they

           relate to bars and nightlife operations in the City and County of Oahu,

           and from issuing any future orders or rules similar to the invalid ones

           described in this action; and

     F.    Grant a preliminary injunction enjoining the enforcement and further

           enforcement of the executive orders; and

     G.    Just compensation in the amount of $50,000,000.00; and

     H.    Award Plaintiffs their reasonable attorneys' fees, costs, and expenses

           under applicable state law; and

     I.    Any other such further relief to which Plaintiffs and members of the

           putative Class may be entitled as a matter of law or equity, or which the

           Court determines to be just and proper.

Dated:     Honolulu, HI
           October 20, 2020
                                     DIPASQUALE & SUMMERS, LLP
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